      Case 2:11-cr-00210-DAD Document 840 Filed 04/15/16 Page 1 of 4


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 8                        UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES,                       No.   2:11-cr-210-JAM
12                Plaintiff,
13        v.                              ORDER RESCINDING AUTHORIZATION
                                          OF DISTRIBUTION OF PRIVATE FUNDS
14   NADIA KUZMENKO,                      AS TO DEFENDANT NADIA KUZMENKO
15                Defendant.
16

17                 I.   FACTUAL AND PROCEDURAL BACKGROUND

18        Defendant Nadia Kuzmenko was found guilty by a jury on 19

19   counts of wire fraud, mail fraud, and witness tampering, and

20   sentenced by the Court on October 20, 2015 to 96 months

21   imprisonment (Doc. #574).     Judgment was entered on the docket on

22   October 27, 2015 (Doc. #644).      Ms. Kuzmenko filed a notice of

23   appeal that same day (Doc. #646).       On March 16, 2016, the Court

24   entered an order authorizing distribution of available private

25   funds to pay compensation and expenses of Ms. Kuzmenko’s court-

26   appointed counsel in the amount of $164,315.55 (Doc. #801).             Five

27   days later, Ms. Kuzmenko filed an ex parte motion for

28   reconsideration of the reimbursement order (Doc. #810).           The
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      Case 2:11-cr-00210-DAD Document 840 Filed 04/15/16 Page 2 of 4


 1   Court directed the parties to file further briefing (Doc. #811),

 2   which they timely submitted (Docs. ##822, 828).          Upon reviewing

 3   the parties’ arguments and evidence, the Court finds this matter

 4   suitable for decision without hearing.

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 6                               II.    OPINION

 7        Ms. Kuzmenko asks the Court to reconsider its reimbursement

 8   order on two bases.    First, she argues that her notice of appeal

 9   divested the Court of jurisdiction to enter such an order, and
10   that any such order must have been entered at the time of
11   sentencing, because “[t]his type of order should be considered as
12   part of the sentencing process.”         Mot. at 2.    Second, she states
13   that the Court “did not, nor could not,” make adequate findings
14   of Ms. Kuzmenko’s ability to pay.         Mot. at 3.
15        A.    Jurisdiction

16        In general, a notice of appeal divests a district court of

17   jurisdiction.   Griggs v. Provident Consumer Disc. Co., 459 U.S.

18   56, 58 (1982) (“The filing of a notice of appeal is an event of

19   jurisdictional significance—it confers jurisdiction on the court
20   of appeals and divests the district court of its control over

21   those aspects of the case involved in the appeal.”).          This rule,

22   however, is “not absolute.”       United States v. Edwards, 800 F.2d

23   878, 883 (9th Cir. 1986).     “It is designed to avoid the confusion

24   and inefficiency of two courts considering the same issues

25   simultaneously.”    Masalosalo by Masalosalo v. Stonewall Ins. Co.,

26   718 F.2d 955, 956 (9th Cir. 1983).         A district court therefore

27   retains jurisdiction to rule on ancillary matters not at issue on

28   appeal.   See Edwards, 800 F.2d at 884 (citing Masaloasalo, 718
                                          2
      Case 2:11-cr-00210-DAD Document 840 Filed 04/15/16 Page 3 of 4


 1   F.2d at 956-57).

 2        Even absent a notice of appeal, “[o]nce a sentence has been

 3   imposed . . . it is final, and the trial judge's authority to

 4   modify it is narrowly circumscribed.”       Dolan v. United States,

 5   560 U.S. 605, 622 (2010) (Roberts, J., dissenting) (discussing

 6   the rule of finality and its rationale).        That is, a district

 7   court is without power to “modify a term of imprisonment” except

 8   as “expressly permitted by statute or [Federal Rule of Criminal

 9   Procedure] 35[.]”    18 U.S.C. § 3582(c).
10        This Court is not persuaded that either the notice of appeal

11   or the passage time after entry of judgment deprived this Court

12   of jurisdiction over the reimbursement of fees.         There is no

13   statutory basis for Ms. Kuzmenko’s assertion that the order is

14   “part of the sentencing process.”       The statute governing

15   reimbursement of fees, 18 U.S.C. § 3006A, untethers the Court’s

16   authority over reimbursement from the progress of a criminal

17   case.   It provides that a court may authorize payment “at any

18   time” and “[w]henever” the court “finds that funds are

19   available.”   18 U.S.C. § 3006A(c), (f).       The Court’s authority
20   under this provision is therefore not limited to the time of

21   sentencing.

22        The order moreover did not affect “those aspects of the case

23   involved in the appeal,” because the entitlement to a government-

24   funded attorney is a separate matter from the propriety of the

25   conviction and sentence currently pending on appeal.          Cf. United

26   States v. Lorenzini, 71 F.3d 1489, 1493 (9th Cir. 1995)

27   (concluding that there is no relationship between repayment of

28   fees and the nature of the crime or the degree of punishment).
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      Case 2:11-cr-00210-DAD Document 840 Filed 04/15/16 Page 4 of 4


 1   The Court therefore holds that the repayment issue is an

 2   ancillary matter over which the Court retains jurisdiction.

 3        B.   Ability to Pay

 4        Having established jurisdiction, the Court turns to the

 5   defendant’s ability to pay.      Ms. Kuzmenko contends that the

 6   Court should have held a hearing on this issue and that the

 7   Court made inadequate findings.      The Court disagrees, because in

 8   the Ninth Circuit, neither a hearing nor findings on the record

 9   are required.   See United States v. Nelson, 61 F.3d 914 (9th
10   Cir. 1995) (unpublished); United States v. Behnezhad, 907 F.2d

11   896, 899 (9th Cir. 1990) abrogated on other grounds by Johnson

12   v. United States, 529 U.S. 694 (2000).

13        Nonetheless, having reviewed the declaration of Ms.

14   Kuzmenko and the accompanying evidence of her available assets,

15   the Court finds that there is adequate evidence that Ms.

16   Kuzmenko does not have the current ability to pay $164,315.55.

17   See Lorenzini, 71 F.3d at 1494.      On this basis, the Court

18   rescinds its order authorizing distribution of Ms. Kuzmenko’s

19   funds.
20                               III.    ORDER

21        For the reasons set forth above, the Court GRANTS the motion

22   for reconsideration.    The order filed on March 16, 2016 (Doc.

23   #801) as to Ms. Kuzmenko is hereby rescinded and the hearing on

24   April 26, 2016 is vacated.

25        IT IS SO ORDERED.

26   Dated: April 14, 2016

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